    Case 18-22422-MBK Doc 13 Filed 07/13/18 Entered 07/13/18 10:36:55                             Desc Main
                             Document
UNITED STATES BANKRUPTCY COURT            Page 1 of 2
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)




                                                                                  Order Filed on July 13, 2018
                                                                                            by Clerk
                                                                                    U.S. Bankruptcy Court
                                                                                    District of New Jersey




In Re:                                                      Case Number:              18-22422
                                                                               _____________________
Henry Robert Melzi
                                                             Hearing Date:     _____________________

                                                            Judge:                Michael B. Kaplan
                                                                               _____________________

                                                            Chapter:                      7
                                                                                _____________________



                  Recommended Local Form:               ✔
                                                        Followed           Modified




                                            ORDER RE EXTENSION OF TIME
                                                  TO FILE SCHEDULES

         The relief set forth on the following page is hereby ORDERED.




DATED: July 13, 2018
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       The court having noted the debtor’s request to extend time to file schedules, and for good
cause shown, it is


       ORDERED that the debtor’s request is:

       ✔
       Granted.                                                      7/19/2018
                  The deadline to file schedules is extended to ______________________.

       Denied.




                                                                                        Rev. 7/1/04; jml




                                               2
